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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

 UNITED STATES OF AMERICA                        )          CR. NO. 3:17-cr-00985-MGL
                                                 )
                                                 )
        -vs-                                     )    SENTENCING MEMORANDUM AND
                                                 )        MOTION FOR VARIANCE
                                                 )
 MALEIK HOUSEAL                                  )


       PLEASE TAKE NOTICE that MALEIK HOUSEAL, by and through undersigned counsel,

submits this sentencing memorandum pursuant to United States v. Booker, 543 U.S. 220 (2005),

and 18 U.S.C. § 3553(a). For the reasons set forth in this memorandum, Mr. Houseal respectfully

requests that the Court vary downward and impose a sentence below the guideline range set forth

in the Presentence Investigation Report (“PSR”). Mr. Houseal requests a downward variance in

light of the fact that (1) he was attacked by multiple shooters and (2) was severely injured,

including suffering a gunshot wound to the hip and being hit by an automobile, which broke his

leg. Although now out of a wheelchair, Mr. Houseal will suffer lifelong limitations to his mobility.

In short, Mr. Houseal has already suffered a great deal for his offense and this suffering should be

taken into account in discerning a sentence in his case.

       I.      MR. HOUSEAL WAS THE VICTIM OF AN ATTACK, AS CONFIRMED
               BY THE VIDEO OF THE INCIDENT AND LAW ENFORCMENT’S
               DESCRIPTION OF MR. HOUSEAL’S ROLE IN THE INCIDENT.

       In the early morning hours of September 16, 2017, Mr. Houseal, his brother, and his

brother’s girlfriend arrived at the Empire Supper Club, which is located at the corner of Park Street

and Lady Street in Columbia. They are shown on video entering the club a few minutes before




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2:00 a.m. 1 Mr. Houseal does not appear to be armed at this time. The club began to close down

shortly after 2:00 a.m. and the patrons began to exit the club out onto the sidewalk and into the

intersection of Park and Lady Streets. At approximately 2:07 a.m., Mr. Houseal is seen leaving the

club and heading toward the parking lot behind the club on Park Street. A couple minutes after

Mr. Houseal leaves the club, the eventual shooters, Mr. Bates and Mr. Lartman, along with others,

leave the club and walks down Park Street toward the parking lot. As Mr. Bates and Mr. Lartman

turn the corner to enter the parking lot, they pass Mr. Houseal as he is returning from the parking

lot. The video makes clear that, after Mr. Houseal returned from the parking lot, he possessed the

firearm referenced in the indictment. After Mr. Houseal passes Mr. Bates and Mr. Lartman, he

keeps an eye on them, sometimes walking backwards to keep them in view, these individuals who

would in a few minutes shoot him, his brother, and his brother’s girlfriend.

       For the next several minutes, Mr. Houseal is in a panicky state, walking back and forth

looking in every direction to see if Mr. Bates and Mr. Lartman are threatening him. Eventually,

Mr. Bates, who is driving a Ford Mustang, and Mr. Lartman, his passenger, pull to the exit of the

parking lot on Park Street and stop, poised at the exit. The car remains in this position for a long

time while Mr. Houseal, along with his companions and other patrons, stands on the sidewalk

adjacent to the club on Park Street.

       At this critical moment, all Mr. Bates had to do was simply pull out of the parking lot and

no one would have been hurt at the club that night. Eventually, as Mr. Houseal turns away from



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  The defense anticipates playing approximately 5 minutes of the video produced in discovery as
RESTRICTED_ACCESS_005427, which is video taken from the vantage point of the intersection
of Park Street and Lady Street, looking down Park Street showing the sidewalk extending back
from the club entrance along Park Street to the parking lot behind the club.


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the vehicle and steps back toward the entrance of the club, a flurry of gunfire erupts from multiple

shooters in the Mustang. The Mustang pulls out and several vehicles follow, one of which

contained at least one additional shooter, Keveas Gallman, who can be seen firing as the car leaves

the exit. Another vehicle, a black BMW driven by female associates of the shooters, runs Mr.

Houseal down, hitting him and flipping him up over the car, breaking his leg. As law enforcement

reported after speaking to a security guard at the club who saw the incident: “[H]e [the security

guard] reported seeing a dark in color vehicle [the Mustang with Bates and Lartman] with a person

shooting leaning out of the back seat and following that vehicle what he identified as a white in

color Grand Marquis (with Gallman) with a person hanging out of the driver side back seat

shooting a firearm. He stated the white car followed the dark color vehicle.”

(RESTRICTED_ACCESS_005806).

       After the shooting, Mr. Houseal can be seen depositing the firearm in some stacked chairs

outside the club as he retreats to the club entrance for medical assistance. By the time he reaches

the entrance, he can no longer walk and lays on the ground. His brother and his brother’s girlfriend

were also shot and severely injured by the shooters in the vehicles. After this incident, the shooters,

including Mr. Bates and Mr. Lartman, went to another club, Vault, on Broad River Road, and got

into another shoot out. In this second shootout, Mr. Bates was struck in the foot and had to go to

the hospital.

       Mr. Houseal underwent surgery to implant a metal plate in his leg and address the gunshot

wound to his hip. After his surgery, he was interviewed by law enforcement. Mr. Houseal was in

a wheelchair with his head and leg bandaged during the interview. The law enforcement officers

had reviewed the video of the shooting and were well aware of the fact that Mr. Houseal was



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turning away when Mr. Bates, Mr. Lartman, and others opened fire on the crowd outside the club.

The following excerpts are law enforcement’s comments to Mr. Houseal, all of which are

contained in discovery and set forth in the PSR, confirming that he was not the assailant and was,

instead, the victim of an attack.

   •   “I can tell you and I can assure you that I already know, just based off the video
       evidence, that these guys shot at you first. Ok, I know that already. I guarantee
       already. And I’m telling you that upfront. Ok, so I don’t want you to think that I
       think you shot at them first. I know––that’s no bullshit––that they shoot at you first.
       Not just that someone said it, but there’s evidence to show that.”
       (RESTRICTED_ACCCESS_000445 at 6:50).

   •   “Again, the video’s got you firing right back. That’s self-defense. That’s self-
       defense.” (Id. at 54:26).

   •   “We could tell, just by your actions, something was fucked up. Somebody either
       got word to you, you felt something wrong, and you felt as though you needed to
       protect yourself.” (Id. at 55:31).

   •   “You didn’t pull out on them first. We know that. Y’all left. Y’all like, ‘a’ight, ain’t
       nothing going down, we gone go this way.’ Essentially, not engaging in a problem.”
       (Id. at 56:01).

   •   “Also, we know enough to say, hey man, the young man [Houseal] shot, but the
       young man is not, should not…you didn’t start this shit. Not, not that…not this
       shooting. You understand? The dudes obviously shot at you when you turned
       around and was walking away.” (Id. at 59:50).\

   •   “It is obvious to us that you was trying to avoid this situation.” (Id. at 1:05:12).

(PSR at ¶ 20).

       Mr. Bates, Mr. Lartman, and others were charged with attempted murder of Mr. Houseal,

his brother, his brother’s girlfriend, and the other victims. To date, Mr. Lartman, who started the

shooting along with Mr. Bates, has pled guilty to attempting to murder all of the victims. Mr. Bates

pled guilty in March of this year, but his sentencing has been deferred.




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       During Mr. Lartman’s plea and sentencing before the Honorable L. Casey Manning,

Assistant Solicitor Vance Eaton described the individuals who Mr. Lartman attempted to murder,

including Mr. Houseal. Mr. Eaton showed a picture of Mr. Houseal after the shooting and stated

the following: “This is Maleik Houseal. You know, I call him a victim -- in quotes. He is not the

real innocent party in this incident. But he did have a right to self-defense. He had his back turned

when they opened fire.” (Transcript dated April 2, 2019, at p. 39 (attached as Exhibit A) (emphasis

added)).

       Again, had Mr. Bates simply pulled out of that parking lot and proceeded down Parks street

toward the Vista, there would have been nothing memorable about September 16, 2017, at the

Empire Supper Club. Mr. Houseal was turning his back to walk away from the trouble when Mr.

Bates and Mr. Lartman opened fire. Mr. Gallman followed up with additional shots as he exited

the parking lot in the Grand Marquis. Then Mr. Houseal was struck by the black BMW, driven by

female associates of Bates and Lartman.

       While Bates, Lartman, and Gallman were charged with attempted murder, Mr. Houseal

was charged only with weapons possession crimes.

       II.     MR. HOUSEAL SUFFERED SEVERE INJURIES FROM WHICH HE
               WILL NEVER FULLY RECOVER.

       Mr. Houseal spent several months after the shooting in a wheelchair in custody at the Alvin

S. Glenn Detention Center. At one point during his time in the wheelchair there, the detention

center put Mr. Lartman in the same pod with Mr. Houseal, not realizing that Mr. Lartman was

charged with attempting to murder someone in the pod, Mr. Houseal. After Mr. Houseal and his

family alerted the detention center personnel that Mr. Lartman was in the same pod with the

individual he was charged with attempting to murder, Mr. Lartman was moved to a different pod.


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       Mr. Houseal had a plate implanted in his lower leg to repair a bone that was broken when

he was struck by the black BMW on Park Street immediately after being shot. The bullet that hit

his hip is still in his body. Although he can now walk again, usually with a limp, he indicates the

doctors have told him that he will never enjoy the full use and mobility that he had before the

incident.

       Mr. Houseal respectfully requests that the Court keep in mind the injuries he suffered in

connection with the Court’s consideration of all of the 18 U.S.C. § 3553(a) factors, particularly

the need for the sentence imposed to provide just punishment for the offense and to deter future

criminal conduct. Simply put, Mr. Houseal has already paid a heavy price for and learned a

valuable lesson from this offense.

                                        CONCLUSION

       Mr. Houseal respectfully requests, in light of other factors set forth in 18 U.S.C. § 3553(a)

and for the reasons set forth in this memorandum and to be presented at sentencing, that the Court

vary downward and impose a sentence below the guideline range set forth in the PSR.

                                             Respectfully submitted,

                                             /s/Daniel C. Leonardi
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